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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §                   NO. 22-cr-290 APM
                                               §
KELLYE SORELLE                                 §


           UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE

       COMES NOW Defendant Kellye SoRelle, by and through her attorney, and files this

Unopposed Motion to Continue Status Conference, and would show the Court the following:

                                               I

       This case is set for a status conference by videoconference on March 10, 2023 at 2:00 p.m.

Defendant SoRelle now requests a continuance of this setting to March 31, 2023 at 2:00 p.m. This

continuance is sought in the interest of justice and not for purpose of delay. Defendant SoRelle

agrees and understands that the time between now and March 31 will be excluded in computing

the time within which the trial must commence under the Speedy Trial Act.

                                               II

       The Government is unopposed to this request.

       Wherefore Defendant SoRelle respectfully requests that the status conference in this case

be continued to March 31, 2023 at 2:00 p.m.
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                                              Respectfully submitted.

                                              MAUREEN SCOTT FRANCO
                                              Federal Public Defender


                                      By:     _________________________
                                              /s/ HORATIO R. ALDREDGE
                                              Supervisory Assistant Federal Public Defender
                                              Western District of Texas
                                              Lavaca Plaza
                                              504 Lavaca, Suite 960
                                              Austin, Texas 78701
                                              (512) 916-5025
                                              (512) 916-5035 (FAX)
                                              Bar Number: Texas 00795216

                                              Attorney for Defendant




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of March 2023, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system which will send notification of such filing to the

following:


Kathryn L. Rakoczy
Troy A. Edwards
Assistant U.S. Attorneys
USAO – D.D.C.
601 D Street NW
Washington, D.C. 20530




                                      __________________________________________
                                      /s/ HORATIO R. ALDREDGE
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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §                    NO. 22-cr-290 APM
                                                §
KELLYE SORELLE                                  §

                                             ORDER

       ON THIS DATE came on to be considered Defendant Kellye SoRelle’s Unopposed

Motion to Continue Status Conference, and the requested relief is hereby GRANTED.

       The Court finds that for the reasons stated in the Defendant’s motion, the ends of justice

served by the continuance outweigh the best interest of the public and the Defendant in a speedy

trial. The Court further finds, pursuant to 18 U.S.C. § 3161(h)(7)(A), that the period of delay

resulting from this continuance shall be excluded in computing the time within which the trial

must commence under the Speedy Trial Act.

       IT IS THEREFORE ORDERED THAT the Status Conference in this matter is hereby

reset to _____________, _____, at _______ a.m./p.m.



       SIGNED THIS ______DAY OF MARCH 2023.



                                             ____________________________________
                                             AMIT P. MEHTA
                                             UNITED STATES DISTRICT JUDGE
